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                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
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                                                             NEW ORLEANS, LA 70130

                           February 06, 2024


Mr. Scott Harris
Supreme Court of the United States
One First Street, N.E.
Washington, DC 20543

      No. 23-10362     Alliance Hippocratic Medicine v. FDA
                       USDC No. 2:22-CV-223
                       USSC No. 23-235

Dear Mr. Harris,

Pursuant to your recent request, I write to advise the appellate
court record can be accessed on PACER through the court’s
website (www.ca5.uscourts.gov).
By copy of this letter, the Clerk of the United States District
Court for the Northern District of Texas is directed to transmit
their record to the United States Supreme Court.

                                  Sincerely,
                                  LYLE W. CAYCE, Clerk

                                  By: _________________________
                                  Rebecca C. Bock, Deputy Clerk

cc:
      Counsel
